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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION

  UNITED STATES OF AMERICA

        v.                                 CASE NO. 8:20-cr-12-T-35JSS

  MARLON ANDRE HALL


                        SENTENCING MEMORANDUM

        The United States of America files this sentencing memorandum

  pursuant to 18 U.S.C. § 3553(a). For the reasons set forth below, the United

  States respectfully requests that the Court impose a term of imprisonment of

  188 months, the bottom of the advisory United States Sentencing Guidelines

  (“U.S.S.G.” or “Guidelines”) range, along with five years of supervised

  release. The United States recommends that the Court impose this sentence to

  run concurrently with the sentence of 51 months of imprisonment the

  defendant is currently serving as punishment for violating the terms of his

  federal supervised release by his conduct in this case. See PSR, Doc. 50 ¶ 39.

                              I.     BACKGROUND

        On January 14, 2020, the grand jury charged the defendant in a four-

  count indictment. Counts 1 and 2 charged the defendant with possessing with

  the intent to distribute and distributing heroin, in violation of 21 U.S.C. §

  841(a)(1) and (b)(1(C). Count 3 charged the defendant with possessing with



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  the intent to distribute heroin and marijuana, in violation of 21 U.S.C. §

  841(a)(1), (b)(1(C), and (b)(1)(D). Count 4 charged the defendant with

  possessing a firearm or ammunition despite being a convicted felon, in

  violation of 18 U.S.C. §§ 922(g) and 924(e). On June 26, 2020, before

  Magistrate Judge Julie S. Sneed, the defendant pleaded guilty to Count 4 via a

  plea agreement with the government in which the United States agreed to

  dismiss Counts 1-3. This Court accepted the defendant’s plea on July 13,

  2020.

          The defendant’s criminal history is substantial. He has been a convicted

  felon since at least April 12, 1991. This is his third conviction in the MDFL:

          • On August 23, 2000, he was sentenced to 121 months of

             imprisonment after pleading guilty to five crimes, including

             conspiring to distribute cocaine base, in case number 8:00-cr-29-T-

             27EAJ.

          • On December 13, 2013, he was sentenced to 188 months of

             imprisonment after pleading guilty to being a felon in possession of a

             firearm in case number 8:13-cr-407-T-23AEP.

  His criminal history qualifies him as an Armed Career Criminal (“ACC”) and

  subjects him to an enhanced sentence pursuant to 18 U.S.C. § 924(e). PSR ¶




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  30. 1 Prior to his guilty plea, the defendant was notified of his susceptibility to

  the ACC sentencing enhancement in three ways: (a) by his prior MDFL

  conviction for violating 18 U.S.C. §§ 922(g)(1) and 924(e), in which he was

  sentenced as an ACC to 188 months in prison, see United States v. Hall, 8:13-cr-

  407-T-23AEP; (b) by the penalty provision in the indictment in this case, see

  Doc. 1; and (c) by the terms of his plea agreement, see Doc. 41. He received

  additional notice in both the initial PSR, see Doc. 48, and the final PSR, see

  Doc. 50.

         At the time the defendant committed the offenses charged in the

  indictment and the crime to which he pleaded guilty, he was on federal

  supervised release. The facts and the defendant’s criminal conduct in this case

  are as follows:

         1.      On November 18, 2019, the defendant sold 0.2 grams of heroin


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             The initial PSR was issued on August 13, 2020. Doc. 48. The defendant did not
  object to Probation’s determination that the defendant qualified as an Armed Career
  Criminal pursuant to 18 U.S.C. § 924(e). The final PSR was issued on September 9, 2020,
  and scores him as such. Doc. 50 ¶ 30.
           On November 23, 2020, however, the defendant untimely notified Probation and the
  United States via e-mail of objections to the PSR, including a contention that two of the
  defendant’s three ACC-qualifying offenses “are not violent felonies within the definition of
  18 U.S.C. § 924(e)(2).” The defendant did not support this contention at all, however, stating
  that he would “expand this objection and offer more detailed support in our sentencing
  memorandum.” The Court’s deadline for filing sentencing memoranda is today and as of the
  filing of this memorandum, the defendant has not filed a sentencing memorandum.
  Consequently, the government cannot respond to the defendant’s unknown arguments
  regarding his qualification as an ACC. Depending on how the defendant proceeds, the
  United States may file a supplemental sentencing memorandum, though the United States
  notes that the Honorable Steven D. Merryday already adjudicated the defendant as an ACC
  in 2013 in United States v. Hall, 8:13-cr-407-T-23AEP.



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        to a confidential informant (CI) at his (the defendant’s) home.

        2.    On November 20, 2019, inside his home, the defendant sold

        approximately 2 grams of heroin to an undercover St. Petersburg Police

        Department (SPPD) detective and also 0.4 grams of heroin to the same

        CI.

        3.    On December 2, 2019, at his home, the defendant sold 7.4 grams

        of heroin to the same undercover SPPD detective.

        4.    On December 18, 2019, ATF agents and SPPD detectives

        arrested the defendant on a federal complaint related to the above-

        described drug deals and executed a search warrant at his home. Inside,

        law enforcement officers found approximately one kilogram of

        synthetic cannabinoid, 155 grams of marijuana, 5.3 grams of crack

        cocaine, digital scales, packaging materials, and a loaded nine-

        millimeter handgun hidden inside a teddy bear.

        5.    Post-Miranda, the defendant confessed to possessing all of the

        drugs found inside his home and admitted that he had the intent to sell

        them. He denied knowledge or possession of the handgun, however.

        6.     Forensic testing revealed the defendant’s fingerprint on the

        gun’s magazine.




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                               II.    ARGUMENT

        This is the defendant’s second conviction for the same federal offense—

  possessing a firearm despite being a convicted felon, in violation of 18 U.S.C.

  §§ 922(g) and 924(e)—in the MDFL within the last seven years. And he

  committed this offense while on federal supervised release, no less. The

  defendant was originally sentenced to 188 months on the prior felon-in-

  possession case, United States v. Hall, 8:13-cr-407-T-23AEP, but he received the

  benefit of two Rule 35 motions in recognition of his cooperation with the

  government on multiple cases; upon the first Rule 35 motion the Court

  reduced his sentence to 92 months; after the second, the Court reduced his

  sentence to 77 months. PSR ¶ 39. The defendant was released on May 3, 2019.

  Id. Approximately six months later, he engaged in the criminal conduct at

  issue in this case, which was substantially the same conduct for which he had

  just served approximately six years in prison.

        Given the defendant’s incorrigibleness and recidivism, a strong case

  could be made for a sentence at the top of the Guidelines range, to run

  consecutively to the 51 sentence imposed by the Honorable Steven D.

  Merryday for the defendant’s violation of his supervised release in the

  preceding felon-in-possession case. Id. The United States is not making such a

  recommendation or request, however.




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        By all accounts, the defendant persistently attempted to secure

  legitimate work after being released from prison and while under supervision.

  Primarily due to his criminal history, he was unsuccessful. He returned to the

  life and source of income he knew—drug dealing—as a result. While that

  choice is not excusable, it is understandable.

        Due to his criminal history and recidivism, the defendant does not merit

  a downward variance, even the relatively small one of eight months that it

  would take to move from the bottom of the Guidelines range, 188 months of

  imprisonment, to the statutory mandatory minimum sentence of 180 months.

  Nevertheless, the Court also need not sentence the defendant to more than 188

  months because that sentence is “sufficient but not greater than necessary” to

  achieve the ends of justice and the statutory purposes of sentencing. 18 U.S.C.

  § 3553. A low end of the Guidelines sentence would be approximately 50%

  longer than the longest time the defendant has previously spent incarcerated.

  See PSR ¶ 38. Additionally, the defendant attempted to cooperate with law

  enforcement so as to earn a USSG §5K1.1 motion but had no worthwhile or

  actionable information to provide.

        For these reasons, the United States is not asking the Court to impose

  the high end of the Guidelines, an upward variance, or an order that the

  defendant’s sentence run consecutively to the sentence he received for




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  violating his federal supervised release by engaging in this same conduct. The

  Court should, however, impose the high end of the Guidelines for post-

  sentence supervised release—5 years. See PSR ¶¶ 80-81. Based on his history,

  the defendant clearly needs the maximum term of monitoring post-release to

  hold him accountable and ensure that this time he does not fall back into his

  old patterns and criminal behavior.

                             III.    CONCLUSION

        WHEREFORE, the United States respectfully requests that the Court

  impose a term of imprisonment of 188 months in prison along with five years

  of supervised release.

                                    Respectfully submitted,

                                    MARIA CHAPA LOPEZ
                                    United States Attorney


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                          CERTIFICATE OF SERVICE

         I hereby certify that on November 25, 2020, I electronically filed the

  foregoing with the Clerk of the Court by using the CM/ECF system, which

  will send a notice of electronic filing to the following:

                 Paul Downing, Esq.



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